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December 21, 2018

VIA ECF

Hon. Joanna Seybert

United States District Court Judge
Eastern District of New York

Alfonse M. D’ Amato Federal Building
United States District Court

100 Federal Plaza

Central Islip, New York 11722

Re: Joseph Jackson v. Nassau County et al., Docket No. 18-cv-3007
Our File No.: 12473.00014

Dear Judge Seybert:

We represent the defendants Nassau County, Nassau County Police Department, Gary
Abbondandelo, Martin Alger, Francis Allaire, Douglas Baralo, John Benner, Robert Dempsey,
John Fitzwilliam, Michael Herts, John Holland, Anthony Kosier, Richard Lester, Kevin Lowry,
George Ludwig, Dennis McHale, Stephen Paylick, Thomas Peterson, Daniel Severin, John
Sharkey, Anthony Sorrentino, Walter Triesch, James Turner, William Tweedie and William
Woolsey, as well as, in a limited capacity, Walter Erdmann, Kenneth Hall, Jerl Mullen, Thomas
Murray, Sergeant Noll, Dominick Parrella and Elmer Richardson (collectively, the “County
defendants”). We write in response to plaintiffs letter dated December 3, 2018 requesting an
initial conference. _

The plaintiff's request for an initial conference is premature. As plaintiff concedes, not
all defendants in this action have been served. Moreover, the County defendants sought a
conference with this Court to discuss their proposed pre-answer motion to dismiss the complaint
pursuant to Rule 12(b)(6), to which the plaintiff has responded. See D.E. #132, 133, 138. The >
Court scheduled that conference for January 16, 2019.

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Discovery in this action should be stayed pending the determination by this Court on the
County defendants’ proposed motion to dismiss the complaint. “The federal district courts have
discretion to impose a stay of discovery pending the determination of dispositive motions by the
issuance of a protective order.” Levy v. Town of N. Hempstead, 2012 U.S. Dist. LEXIS 113340,
at *1 (E.D.N.Y. Sept. 18, 2012) (internal quotations omitted). ‘Factors that courts have
considered when determining whether or not a stay is appropriate include: (1) whether the
_ defendant has made a strong showing that the plaintiff's claim is unmeritorious; (2) the breadth
of discovery and the burden of responding to it; and (3) the risk of unfair prejudice to the party
opposing the stay.” Chesney v. Valley Stream Union Free School Dist. No. 24, 236 F.R.D. 113,
115 (E.D.N.Y. Mar. 28, 2006).

Here, the County defendants have sought leave to file a pre-answer motion to dismiss the
complaint in order to assert meritorious arguments that the complaint fails to state a cause of
action against the County defendants. See D.E. #133, 138. Indeed, the County defendants will
argue, inter alia, that the complaint fails to allege the personal participation of the individual
defendants, and that the Monell claim is not sufficiently pled.

Commencing discovery prior to the determination on the County defendants’ motion to
dismiss will also be highly and unecessarily burdensome. . All except one of the individual
County defendants are retired, many living in distant states and many of whom had no material
connection with this case. Some are deceased. Plaintiff sued every person whose name appeared,
for whatever reason, somewhere in the County Police Department’s file. Indeed, the body of the
complaint names only three defendants, while the caption names 42. It will be a large burden,
and cause prejudice, to subject each of the 42 defendants to discovery and examination when
plaintiff has not patriculaized any claims against them and none have been apprised of their
alleged wrongdoing. Moreover, since we have submitted. our letter requesting a briefing
schedule to file the pre-answer motion to dismiss, we have continued our investigation into this
matter and intend to include a qualified immunity argument for many of the individual
defendants. Proceeding with discovery during the pendency of a motion based on qualified
immunity is entirely inconsistent with the purpose of such immunity. See Napolitano v. Flynn,
949 F.2d 617, 621 (2d Cir. 1991) (“qualified immunity is an immunity from suit rather than a
mere defense to liability”) (internal citations and quotations omitted). As to the Monell claim,
any discovery is expected to be extremely lengthy, with paper discovery being voluminous.
Proceeding with discovery on the Monell claim, while it is subject to dismissal pursuant to Rule
12(b)(6) of the Federal Rules of Civil Procedure, would be a an unecessary burden on County
resources.

Lastly, as discovery has not yet commenced against any party, a brief stay during the
pendency of the County’s motion would cause no prejudice to the plaintiff.

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_ For the above reasons, the County defendants respectfully request that this Court deny the
plaintiffs request for an initial conference and set a briefing schedule for the County defendants’
pre-answer motion.

Respectfully submitted,
WILSON, /ELSER, MOSKOWITZ, EDELMAN & DICKER LLP

Petér A. Meisels

ce: All parties via ECF

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